          Case 2:24-mj-08158-JSA                    Document 4         Filed 08/12/24    Page 1 of 1 PageID: 4


AO 94 (Rev. 06/09) Commitment to Another District



                                     UNITED STATES DISTRICT COURT
                                                                for the

                                                        District of New Jersey

                 United States of America )
                                V.                          )
                                                             ) Case No. 24-8158
                    MAKSIM SILNTKAU )
                                                                  ) Charging District's
                            Defenc/anl ) Case No. 1 ;23-CR-108


                                             COMMITMENT TO ANOTHER DISTRICT

         The defendant has been ordered to appear in the k^P^ ? ^€^^-/ District of

(if applicable) jff^ €^W ^?^C./r / t^ division. The defendant may need an interpreter for this ianguage:

                            Russian


         The defendant: H will retain an attorney,

                                     is requesting court-appointed counsel.


         The defendant remains in custody after the initial appearance.


         IT IS ORDERED: The. United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant's arrival so that further proceedings may be
promptly scheduled. The clerk of tins district must promptly transmit the papers and any bail to the charging district.




Date: 08/12/2024 s/Jessica A. Alien
                                                                                    Judge's signatwe


                                                                                 Jessica S. Alien, USMJ
                                                                                   Prinfed name (mdiWe.
